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                                                                                     FILED
                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS                  2019   JUN      PM   t4:
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                                     AUSTIN DIVISION
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                                                                             WSTL1Th D:f;.                   AS
DELL TECHNOLOGIES INC. AND                       §
DELL GLOBAL B.V. (SINGAPORE                      §                                         LUii
BRANCH),                                         §
             PLAINTIFFS,                         §
                                                 §
V.                                               §     CAUSE NO. l:18-CV-666-LY
                                                 §
TIVO CORPORATION, ROVI                           §
CORPORATION, SONIC SOLUTIONS                     §
LLC, AND SONIC SOLUTIONS,                        §
              DEFENDANTS.                        §

                          MEMORANDUM OPINION AND ORDER

          Before the court in the above styled and numbered cause are Dell's Motion for Remand

or, in the Alternative, to Dismiss filed August 29, 2018 (Dkt. No. 22), Defendants' Response in

Opposition to Dell's Motion to Remand or, in the Alternative, to Dismiss filed October 26, 2018

(Dkt. No. 28), Dell's Reply in Support of its Motion for Remand or, in the Alternative, to

Dismiss filed November 2, 2018 (Dkt. No. 34), Plaintiffs' Unopposed Motion to Provide

Supplemental Authority filed February 19, 2019 (Dkt. No. 40), and Defendants' Response in

Support of Plaintiffs' Unopposed Motion to Provide Supplemental Authority filed February 20,

2019 (Dkt. No. 41). On January 22, 2019, the court held a hearing on the motion at which all

parties were represented by counsel.          Having considered the motion, response, reply,

supplemental authority, arguments of counsel, the applicable law, and the entire record, in this

cause, the court will grant the motion for the reasons to follow.

     I.      FACTUAL BACKGROUND

     Gone are the days in which someone lugs around a Walkman, a CD player, or a portable

DVD player in order to listen to music. Today, users can enjoy high-quality music and other
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audio on small electronic devices, like phones and computers. Part of what makes this possible

is MP3 technology, which allows audio files to be compressed and stored using less space, so

that a user can store thousands of songs on a small device, rather than needing hundreds of CDs

or DVDs. The process of creating MP2 or MP3 audio requires encoding an audio signal into the

MP2 or MP3 format. The process of turning MP2 or MP3 audio into playable audio requires

decoding the MP2- or MP3-formatted audio back into playable audio.

       Plaintiff Dell Technologies Inc. ("Dell Technologies") is a Texas-based electronics seller.

Dell Technologies is the parent company to hundreds of Dell subsidiaries around the       globe.1   In

2001, Defendant Sonic Solutions, the predecessor to Defendant TiVo Corporation, provided Dell

with audio MP3 software, marketed as Roxio Creator, which Dell installed and sold on its

computers. Defendant Rovi later acquired TiVo through a complex corporate merger, and Dell

alleges that TiVo is a successor in interest to the liabilities   of Sonic Solutions. Non-party Dell
Products, L.P., a wholly-owned subsidiary of Dell Technologies, and Sonic Solutions LLC

("Sonic") entered into a software-licensing agreement effective August 30, 2001 ("Licensing

Agreement" or "Agreement").           Pursuant to a 2010 clarification agreement ("Clarification

Agreement"), Plaintiff Dell Global B.V. now holds all rights and obligations previously held by

Dell Products, L.P. under the Licensing Agreement. The Clarification Agreement states that

Dell Global holds the rights and obligations under the Licensing Agreement "on behalf of itself

and each of its worldwide affiliates."


           When a case presents competing claims of varying parties, it is often hard to keep the
claims of an individual party in focus. And using the legal designation of the parties is often
hard for the reader to follow. Here, certain of the parties may be grouped with regard to issues
where their interests do not diverge. For simplicity, the court will refer to the parties as follows,
unless otherwise noted or needed for context: Plaintiffs Dell Technologies, Inc. and Dell Global
B.V. (Singapore Branch) will be collectively referred to as "Dell." Defendants TiVo
Corporation, Rovi Corporation, Sonic Solutions LLC, and Sonic Solutions will be collectively
referred to as "TiVo."

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       As part of the Licensing Agreement, Sonic represented that "the Licensed Product(s) will

operate substantially in accordance with its written specifications." The written specifications

for Roxio software require that the Roxio software enable MP3 decoding capability by using

Microsoft preloaded MP3 codec and not install any third-party MP3 codec. Dell alleges that

Sonic represented that the Roxio software would leverage and use Microsoft Windows operating

system for encoding, decoding, recording, and playing MP3 audio files in order to avoid

potential liability for third-party royalties. This representation is important because a third party,

Audio MPEG, Inc., holds the exclusive rights to grant licenses to third parties for certain U.S.

and non-U.S. patent rights relating to the encoding and decoding of MP3 audio. One of Audio

MPEG's licensees is Microsoft, which permits Microsoft to sell software capable of encoding

and decoding MP3 audio.        Dell alleges it relied on the written specifications and repeated

representations made by Sonic that Roxio would not utilize third-party codec when it installed

and continued to sell Roxio software on Dell computers.

       The Licensing Agreement also states that "the Licensed Product(s) shall not infringe any

copyright, patent, trade secret or any other intellectual property rights or similar rights of any

third party." Finally, under the Agreement, Sonic agreed to fully indenmify, defend, and hold

Dell harmless "from and against any and all claims, actions, suits, legal proceedings, demands,

liabilities, damages, losses, judgments, settlements, costs and expenses, including, without

limitation, attorneys' fees, arising out of or in connection with any alleged or actual.    . .   breach

by Sonic and/or the Licensed Product(s) of any other representations and/or warranties contained

in this Agreement." Sonic, at its own expense, must "procure for Dell the right to exercise the

rights and licenses granted to Dell under this Agreement or modify the Licensed Product(s) such




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that it is no longer infringing   .   .   .   and reimburse Dell for any royalty payments paid for the

Licensed Product(s)."

       In 2015, Audio MPEG sued Dell Inc. in the United States for patent infringement based,

in part, for having distributed the Roxio software. See Audio MPEG, Inc.          v.   Dell Inc., No. 2:15-

cv-73 (E.D.   Va.).2   Audio MPEG's parent company Sisvel sued Dell Inc. and Dell GmbH in

Germany for patent infringement also based, in part, on sales of the Roxio        software.3    During the

course of the litigation, Dell learned that the Roxio software included unlicensed MP3

functionality and did not use the pre-programed Microsoft functionality for encoding and

decoding MP3. Dell states that before settling and during the litigation, Dell requested that TiVo

indemnify and defend Dell, but TiVo refused. Dell Technologiesas the parent company of

Dell Inc., Dell GmbH, and Dell Global             B.V.entered into   a settlement agreement and license

with Audio MPEG, Sisvel, and the patent owners to resolve, inter alia, the infringement claims

related to the distribution of Roxio' s software.

       Dell Technologies and Dell Global B.V. filed suit in Texas state court asserting the

following state-law claims against TiVo: (1) negligent misrepresentation, (2) fraudulent

misrepresentation, (3) fraudulent nondisclosure, and (4) breach of contract. Dell claims that

TiVo breached the Licensing Agreement in three ways: (1) the Roxio software did not follow the
       2
           The patents at issue are owned by U.S Philips Corp., TDF SAS, and Institute für
Rundfunktechnik GmbH (referred to as the "patent owners"). See Audio MPEG, Inc. v. Dell
Inc., 254 F. Supp. 3d 798, 801 (E.D. Va. 2017). Audio MPEG and its European parent, Societá
Italiana per lo Sviluppo dell'Elettronica S.p.A. ("Sisvel"), hold the exclusive right to license
those patents. Id.

            See generally Societá Italiana per lo Sviluppo deli 'Eiettronica S.p.A. v. Dell GmbH,
No. 7 0 148/16 (Landgericht Mannheim) (Ger.); Societá Italiana per lo Sviluppo
deli 'Eiettronica S.p.A. v. Dell Inc., No. 7 0 149/16 (Landgericht Mamiheim) (Ger.); Societá
Italiana per lo Sviiuppo deil'Eiettronica S.p.A. v. Dell GmbH, No. 7 0 184/17 (Landgericht
Mannheim) (Ger.); Societá Italiana per lo Sviiuppo dell 'Elettronica S.p.A. v. Dell GmbH, No. 7
0 185/17 (Landgericht Mannheim) (Ger.). For ease ofreference, both cases will be referred to
as "the litigation."
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written specifications related to the software functionality; (2) the Roxio software infringed on

the intellectual property rights of a third party; (3) TiVo did not comply with its obligations to

indemnify, defend, and hold harmless Dell for its losses resulting from Roxio's infringement.

Dell's misrepresentation and nondisclosure claims are based on repeated representations made

by TiVo that Roxio contained the proper functionality.

       TiVo answered, asserting defenses of noninfringement and patent exhaustion. TiVo also

asserted counterclaims seeking a declaratory judgment that the Roxio software did not infringe

on the Audio MPEG patents and that the Audio MPEG patents were exhausted by a third-party

license with Microsoft.

       TiVo then removed the case to this court, asserting jurisdiction under Sections 1331,

1332, 1441, 1454, 1446. TiVo asserts that this court has diversity jurisdiction under Section

1332, because Dell improperly joined Dell Technologies, a non-diverse plaintiff, in state court in

order to defeat diversity jurisdiction.   See   28 U.SC.   §   1332, 1441. TiVo also asserts that this

court has jurisdiction under Section 1454, because TiVo 's counterclaims for a declaration of

noninfringement and patent exhaustion arise under federal patent law.          See   28 U.S.C.   §   1454.

Finally, TiVo asserts that this court has original jurisdiction to hear this case under Section 1331,

because Dell's state-law claims arise under federal patent law. The owners of the Audio MPEG

patents, Audio MPEG, and Sisvel are not parties to this case.

       Dell moves to remand this case to state court, claiming that Dell Technologies is not

improperly joined and that this court lacks subject-matter jurisdiction over TiVo's counterclaims

and Dell's state-law claims, because the claims do not arise under federal patent law.




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   II.      DIVERSITY JURISDICTION AND IMPROPER JOINDER

         For the purposes of diversity jurisdiction, "a corporation shall be deemed to be a citizen

of every State and foreign state by which it has been incorporated." 28 U.S.C.                §   1332(c)(l).

Plaintiff Dell Technologies is incorporated in Delaware, and Plaintiff Dell Global B.V. is

incorporated in The Netherlands.          Defendants TiVo Corporation and Rovi Corporation are

incorporated in the Delaware, and Defendant Sonic Solutions LLC is incorporated in California.

Because one of the Plaintiffs, Dell Technologies, and two of the Defendants, TiVo and Rovi, are

citizens of Delaware, there is not complete diversity of citizenship between the Plaintiffs and

Defendants as pleaded.         See 28 U.S.C.      §    1332(a)(1).        TiVo argues, however, that Dell

Technologies was improperly joined in order to defeat federal diversity jurisdiction.

         A party seeking to remove bears the burden of showing that federal jurisdiction exists and

that removal was proper. Manguno         v.   Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th

Cir. 2002) (citingAcuna       v.   Brown & Root, Inc., 200 F.3d 335, 339 (5th Cir. 2000)).               The

removal statutes are construed restrictively, so as to limit removal jurisdiction. See Shamrock

Oil & Gas Corp.    v.   Sheets, 313 U.S. 100, 108-09 (1941). Any ambiguities are construed against

removal and in favor of remand to state court. Id. A plaintiff may seek to have a case remanded

to the state court from which it was removed,          if the district court lacks jurisdiction over the case

or if there is a defect in the removal procedure. 28 U.S.C.          §   1447(c).

         "The starting point for analyzing claims of improper joinder must be the statutes

authorizing removal to federal court of cases filed in state court." Smaliwood v. Illinois Cent. R.

Co., 385 F.3d 568, 572 (5th Cir. 2004) (en banc). Section 1441 allows for the removal of a state-

court suit where all parties are diverse.      See    28 U.S.C. §    1441(b), 1332(a). Even if the parties

are completely diverse, a district court may not exercise its diversity jurisdiction, however,             if
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"any party, by assignment or otherwise, has been improperly or collusively made or joined to

invoke the jurisdiction of such court." 28 U.S.C.       §   1359; see also 28 U.S.C. § 1441(b) ("A civil

action otherwise removable solely on the basis of [diversity jurisdiction] may not be removed if

any of the parties in interest properly joined and served as defendants is a citizen of the State in

which such action is brought.")

       Joinder of a non-diverse plaintiff is deemed improper, and that plaintiff's presence in the

lawsuit is ignored for the purposes of determining diversity, where there is no reasonable

possibility that the plaintiff would be able to establish a cause of action against a defendant in

state court. See Smallwood, 385 F.3d at 573. "The burden of persuasion on those who claim

[improper] joinder is a heavy one," Travis   v.   Irby, 326 F.3d 644, 649 (5th Cir. 2003), and TiVo

must show that "there is no reasonable basis for the district court to predict that [Dell

Technologies] might be able to recover against {TiVo]." Smaliwood, 385 F.3d at 573.                  To

determine whether Dell Technologies can reasonably establish a cause of action against TiVo,

the court conducts "a Rule 1 2(b)(6)-type analysis, looking initially at the allegations of the

complaint to determine whether the complaint states a claim under state law against the in-state

defendant." Id. "All unchallenged factual allegations, including those alleged in the complaint,"

must be viewed "in the light most favorable to [Dell Technologies]" and "[a]ny contested issues

of fact and any ambiguities of state law" must be resolved in [Dell Technologies'] favor. Travis,

326 F.3d at 649. Importantly, the court does not determine "whether the plaintiff will actually or

even probably prevail on the merits     of the claim, but look[s] only for a possibility that the

plaintiff might do so." Guillory v. PPG Indus., Inc., 434 F.3d 303, 309 (5th Cir. 2005).




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         A. Breach of Contract

         TiVo argues that Dell Technologies cannot state a breach-of-contract claim because Dell

Technologies is not a signatory or third-party beneficiary to the Licensing Agreement. Dell

Products L.P. was the original signatory to the Agreement, and under the Clarification

Agreement, Dell Global B.V. now holds all rights and obligations previously held by Dell

Products, L.P. under the Agreement "on behalf of itself and each of its worldwide affiliates."

Dell contends that Dell Technologies, as the parent company of Dell Global B.V., is a third-party

beneficiary of the Agreement between Dell Global B.V. and TiVo and must be indemnified

under the Agreement in the event of a breach.

         In diversity cases, "substantive law.   . .   is established by the usual principles   of conflict of
laws, but procedural rules are the rules of the forum." Condit Chem. & Grain Co.                   v.   Helena

Chem. Corp., 789 F.2d 1101, 1102 (5th Cir. 1986); see also Erie R. Co. v. Tompkins, 304 U.s.

64, 78 (1938) (state law applies except when issue is governed by federal law). The parties agree

the Licensing Agreement is governed by Texas law. A party who is not a signatory to a contract

may "sue for damages caused by its breach if the person qualifies as a third-party beneficiary."

First Bank v. Brumitt, 519 S.W.3d 95, 102 (Tex. 2017). "[A]s a general proposition, a corporate

parent is not a third-party beneficiary of its subsidiary's contract merely by virtue of their

relationship." Basic Capital Mgmt., Inc.   v.   Dynex Commercial, Inc., 348 S.W.3d 894, 900 (Tex.

2011).    However, contracting parties may "intend[] to grant the third party the right to be a

claimant in the event of a breach." Brumitt, 519 S.W.3d at 102. "To determine whether the

contracting parties intended to directly benefit a third party and entered into the contract for that

purpose, courts must look solely to the contract's language, construed as a whole." Id.
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       Under the language of the Licensing Agreement, Dell Technologies is a third-party

beneficiary to the Agreement capable of suing for the Agreement's breach under Texas law.

Dell Products L.P. entered into the Agreement with Sonic; however, the indemnification clause

of the Agreement expressly designates all Dell subsidiaries and affiliates as beneficiaries of the

representations and warranties of the Agreement.        Section 7.1 of the Licensing Agreement

provides that Sonic "shall fully indemnify, defend and hold harmless Dell [Products L.P.], Dell

Computer Corporation, Dell Computer Corporation's subsidiaries and affiliates          .   .   .   and their

successors and assigns" for claims "arising out of or in connection with any alleged or actual"

breach of Sonic's "representations and/or warranties." Likewise, the Clarification Agreement

defines the term "Dell" in to mean "Dell Global [B.V.].   . .   Dell Products L.P., Dell Inc. and each

Subsidiary and affiliate of Dell Inc."

       "Affiliate" is not defined in either the Licensing Agreement or Clarification

Agreement. TiVo asserts that the term "affiliate" is limited to subsidiaries. Where a term is not

"defmed in the contract" its "ordinary meaning must be used." Eckland Consultants, Inc. v

Ryder, Stilwell Inc., 176 S.W.3d 80, 88 (Tex.    App.Houston [1st Dist.] 2004, no pet.) (looking

to Black's Law Dictionary to defme "affiliate" in contract). Contemporaneous legal dictionaries

define "affiliate" to include a controlling parent company: "[a] corporation that is related to

another corporation by shareholdings or other means of control; a subsidiary, parent, or sibling

corporation."   Affiliate, Black's Law Dictionary 59 (7th ed. 1999).              The Licensing and

Clarification Agreements confirm that definition. They name parent companies as            exemplars

Dell Computer Corporation and Dell       Inc.and use the term "subsidiary"     in addition to the term




           This court uses the Seventh Edition of Black's Law Dictionary, because that was the
edition in use when the Agreement became effective on August 30, 2001.
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"affiliate," suggesting the term "affiliate" must have an additional meaning beyond "subsidiary,"

otherwise it would be superfluous.

       The language    of the Licensing and Clarification Agreements are broad in what entities

are considered affiliates. Dell and Sonic, however, are sophisticated parties. They both agreed

to the Licensing Agreement containing an express right      of indemnification for Dell affiliates

injured by Sonic's breaches of representations and warranties. That Dell Technologies is or may

be a third-party beneficiary to the Agreement extends beyond its status as the parent company of

Dell Global and Dell Products.       Dell Technologies is a third-party beneficiary because the

specific language   of the Licensing and Clarification Agreements allows "each" Dell affiliate

including Dell Technologiesto seek redress for Sonic's breaches of contract. Broad though the

language is, it is what Sonic agreed to by contract, presumably in exchange for other binding

promises by Dell.

       Sonic, TiVo's    predecessor,5   represented to Dell in the Licensing Agreement that the

Roxio would comply with the Agreement's provisions about the software's functionality. The

Roxio software did not operate as specified. As a result of that breach   of the Agreement, Dell

Inc. and Dell GmbH were sued for patent infringement in the United States and Germany, and

Dell Technologies settled the claims on behalf        of the entire Dell corporate family.    Dell

Technologies, as the parent company, wrote the settlement check to settle the claims against the

Dell entities named in the suits. Dell Technologiesan affiliate under the agreementnow

seeks a remedy for which the agreement explicitly providesdamages resulting from "a breach

by [TiVo] and/or the Licensed Product(s) of any other representations and/or warranties

contained in [the] Agreement."


           The following account of the facts is presented in the light most favorable to Dell, as
this issue comes to the court in a motion-to-dismiss posture. Smaliwood, 385 F.3d at 573.

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        When TiVo failed to defend Dell Inc. and indemnify Dell Technologies for the settlement

paid in the suits, TiVo created not only the possibility Dell Technologies would be a proper

plaintiff under the Licensing Agreement in a suit against TiVo for breach of the Agreement, but

a likelihood that Dell Technologies would take the action it did. TiVo has not met its burden to

show there      is.   no "reasonable basis" under Texas law that Dell Technologies may be able to

recover against TiVo for breach of contract as a third-party beneficiary. under the Agreement.

Cf Irby, 326 F.3d at 649; Smaliwood, 385 F.3d at 573.

        B. Tort Claims

        Dell also alleges that "TiVo repeatedly represented to Dell that the Roxio Creator

software used or would use the Microsoft Windows operating system," and that "Dell.            . .   rel[ied]

on TiVo 's renewed representations [regarding the Microsoft-licensed functionality]."                  TiVo

contends that Dell Technologies may not assert tort claims against TiVo, because the claims did

not arise out of any representation made specifically to Dell             Technologies.6    However, in

considering a motion to remand, the court accepts as true Dell's allegations that TiVo made

certain representations to the entire Dell corporate family about the functionality of the Roxio

software. Smallwood, 385 F.3d at 573. TiVo does not put "forward evidence that would negate

a possibility   of liability," Irby, 326 F.3d 650-51, and does not meet its high burden in showing

that "there is no reasonable basis.    . .   to predict that [Dell Technologies] might be able to recover

against" TiVo. Smaliwood, 385 F.3d at 573-74




       6
         TiVo also contends that the tort claims arose out of the Licensing Agreement, to which
Dell Technologies was not a signatory. As with the breach-of-contract claim, there is a
reasonable possibility that Dell Technologies may recover under the Agreement for
misrepresentations made by TiVo.


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            In sum, TiVo has not met its burden in proving that Dell improperly joined Dell

Technologies to the lawsuit in order to destroy diversity. Because the parties are not completely

diverse, TiVo cannot rely on diversity jurisdiction.

     III.      REMOVAL UNDER SECTION 1454
            Article III of the Constitution limits the exercise of the judicial power to the "resolution

of 'cases' and 'controversies." Valley Forge Christian Coll.            v.   Americans Unitedfor Separation

of   Church & State, Inc., 454 U.S. 464, 471 (1982). In addition to the constitutional case-or-

controversy requirement, jurisdiction is "is further limited to those subjects encompassed within

a statutory grant of jurisdiction." Insurance Corp. of Ireland                v.   Compagnie des Bauxites de

Guinee, 456 U. 5. 694, 701 (1982). TiVo contends this court has jurisdiction under the patent-

removal statute. See 28 U.S.C.       §   1454.

            Section 1454 allows for removal of any "civil action in which any party asserts a claim

for relief arising under any Act of Congress relating to patents."                   28 U.S.C.   §   1454.   This

provision was "intended to provide federal courts.        . .   with a broader range ofjurisdiction; that is,

with jurisdiction over claims arising under the patent laws even when asserted in counterclaims,

rather than in an original complaint." Vermont v. MPHJ Tech. Investments, LLC, 803 F.3d 635,

644 (Fed. Cir. 2015).        A claim for relief "aris[es] under" federal law in two ways: (1) where

"federal law creates the cause of action asserted," and (2) in a "special and small category of

cases" brought under state law in which arising-under jurisdiction still attaches. Id. at 645




          The court applies Federal Circuit law in its interpretation and application of the patent-
removal statute and Fifth Circuit law where the analysis relates to "procedural issue[s] not
unique to patent law." Versata Software, Inc. v. Callidus Software, Inc., 780 F.3d 1134, 1136
(Fed. Cir. 2015).


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(quoting Gunn   v.   Minton, 568 U.S. 251, 256-59 (2013)).8 TiVo presses two counterclaims that it

asserts arise under the patent laws: (1) a declaration of noninfringement, and (2) a declaration of

patent exhaustion.       The Declaratory Judgment Act does not "extend" a federal court's

jurisdiction; a separate statute must confer jurisdiction over the action. Medtronic, Inc.              v.


Mirowski Family Ventures, LLC, 571 U.S. 191, 196-97 (2014). Thus, TiVo's counterclaims for

declaratory judgment cannot serve as the basis for this court's jurisdiction under Section 1454

unless the counterclaims arise independently under federal patent law.

       Federal law "creates" various patent causes of action, including a claim by a patentee of

infringement. See 35 U.S.C.     §§   271, 281. Discerning whether TiVo ' s claims arise under federal

law is complicated by the fact that they are counterclaims for declaratory judgment, and not

stand-alone causes of action, such as a cause of action for patent infringement. In the patent

context, when "determining declaratory judgment jurisdiction" courts often look to "the

character of the threatened action" and "the nature of the threatened action in the absence of the

declaratory judgment suit." Medtronic, 571 U.S. at 196-97 (holding that action by licensee

against patent holder seeking declaration of nomnfringement or invalidity arises under federal

patent law where patent holder could bring infringement action against licensee). And courts

also ask "whether a coercive action brought by a declaratory judgment defendant          .   .   .   would

necessarily present a federal question." Id. at 197 (internal quotation and citations omitted).

Thus, there must typically be "an underlying legal cause    of action" arising under patent law "that
the declaratory defendant could have brought or threatened to bring." Benitec Australia, Ltd.           v.


Nucleonics, Inc., 495 F.3d 1340, 1344 (Fed. Cir. 2007). An infringement cause of action belongs


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         The Vermont court noted that it had not yet reviewed "removal under [Section 1454]"
or considered "how that newly enacted provision should be interpreted in light of the other
amendments to jurisdictional statutes adopted in the [America Invents Act]." Vermont, 803 F. 3d
at 652. This remains true today.

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to the person with an enforceable title to the patent. See Enzo APA & Son, Inc.           v.       Geapag A. G.,

134 F.3d 1090, 1093 (Fed. Cir. 1998).

         Neither the Supreme Court nor the Federal Circuit have established a bright-line rule for

discerning whether a declaratory-judgment claim arises under patent law. Nonetheless, a review

of Federal Circuit cases reveals that the Federal Circuit has recognized district-court jurisdiction

over declaratory-judgment counterclaims of noninfringement in two categories of cases: (1)

where the party sued is a patent owner or an exclusive licensee; see id., or (2) between a patent

holder and a manufacturer where the manufacturer is obligated to indemnify its customers or the

manufacturer is subject to liability for induced or contributory infringement. See Arris Grp., Inc.

v.   British Telecommunications PLC, 639 F.3d 1368, 1374 (Fed. Cir. 2011).

         TiVo argues that courts have routinely rejected a "cause-of-action             theory"that             is, a

declaratory-judgment plaintiff must have a cause of action against the declaratory-judgment

defendantto determine declaratory-judgment jurisdiction.                The cases TiVo cites for this

proposition, however, all involve actions against the patent owner or exclusive licensee. See

Alexsam, Inc. v. Green Dot Corp., No. 2:15-cv-05742-CAS(PLAx), 2015 WL 6520917, at *1

(C.D. Cal. Sept. 28, 2015) ("This dispute arises out         of a settlement agreement         .    .   .   regarding

certain patents owned by [plaintifi]."); Gen. Elec. Co.       v.   NeuroGrafix, No. 2:12-cv-4586-MRP,

2012 WL 12888331, at *6 (C.D. Cal. Sept. 28, 2012) ("The declaratory judgment                      defendant...

is the exclusive licensee       of a medical imaging patent."); Arris Grp., Inc.   v.   British Telecomms.

PLC, 639 F.3d 1368, 1375 (Fed. Cir. 2011) ("seeking a declaratory judgment that claims in

[defendant]'s patents   .   .   .   are invalid and not infringed by [plaintiff]"); ABB Inc. v. Cooper

Indus., LLC, 635 F.3d 1345, 1346 (Fed. Cir. 2011) ("seeking a declaration of noninfringement as

to the claims of several [defendant] patents"; WS Packaging Grp., Inc. v. Glob. Commerce Grp.,



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LLC, 505 F. Supp. 2d 561, 563 (E.D. Wis. 2007) ("seeking a determination that [plaintiff] is not

infringing on [defendant]'s patent for internet game pieces").

        TiVo does not direct this court to authority approving      of a declaratory-judgment action in
which the patent owner or exclusive licensee was absent from the suit. A review of Federal

Circuit cases leads this court to the conclusion that in order to have a jurisdiction over TiVo 's

counterclaim for noninfringement, the court must also have jurisdiction over a patent-

infringement complaint brought by          Dellthe     declaratory-judgment defendant. If Dell cannot

bring an infringement action, then TiVo's counterclaim likewise cannot arise under federal

patent law. See ExcelStor Technology, Inc.       v.   Papst Licensing GMBH & Co. KG, 541 F.3d 1373,

1376-77 (Fed. Cir. 2008) (federal court lacked jurisdiction where declaratory judgment

defendant could not bring an infringement action against plaintiff); Speedco, Inc.       v.   Estes, 853

F.2d 909, 913 (Fed. Cir. 1988) (court lacked jurisdiction where declaratory-judgment plaintiff

could only be sued for breach of contract, not for patent infringement).

       Dell does not own the patent at issue; nor is it an exclusive licensee. Dell is unable to

bring an action for patent infringement against TiVo because "only a patent owner or an

exclusive licensee can have constitutional standing to bring an infringement suit."               Spine

Solutions, Inc.   v.   Medtronic Sofamor Danek USA, Inc., 620 F.3d 1305, 1317 (Fed. Cir. 2010)

(quoting Mars, Inc.     v.   Coin Acceptors, Inc., 527 F.3d 1359, 1367 (Fed. Cir. 2008)). There is no

precedent for a declaratory judgment in the absence of the patent owner, where the patents are

expired, the underlying patent-infringement case is settled, and the patents are fully        licensed.9


Accordingly, patent law cannot create the cause of action asserted by                  TiVothat of
noninfringementbecause patent law does not allow for the mirror action of infringement by


          TiVo does not contend that Dell or TiVo could currently be sued for patent
infringement.

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Dell. Because TiVo's request for a declaration of noninfringement does not "arise[] under any

Act of Congress relating to patents," TiVo's noninfringement counterclaim does not support this

court's jurisdiction.

          Dell also asserts that TiVo's counterclaim for patent exhaustion does not arise under

patent law because there is no federal cause of action for patent exhaustion, and thus not a mirror

declaratory cause of action.         Dell is correct that "patent exhaustion is a defense to patent

infringement, not a cause of action." ExceiStor Technology, 541 F.3d at 1376. Again, because

Dell cannot bring a patent infringement suit against TiVo, TiVo cannot seek a declaration of

patent exhaustion against Dell. Thus, the patent-exhaustion counterclaim likewise does not

confer this court with jurisdiction under Section 1454.

    IV.         REMOVAL OF DELL'S STATE LAW CLAIMS

          In addition to Section 1454 and Section 1338, TiVo asserts in its reply that Dell's state-

law claims arguably arise under the patent laws. A state-law claim may arise under federal law

"in a special and small category of cases," if the "state-law claim necessarily raise[s] a stated

federal issue, actually disputed and substantial, which a federal forum may entertain without

disturbing any congressionally approved balances of federal and state judicial responsibilities."

Gunn, 568 U.S. at 256-59. All four factors must be met, and "the mere presence of a federal

issue in a state cause of action does not automatically confer federal-question jurisdiction."

Merrell Dow Pharm. Inc.       v.   Thompson, 478 U.S. 804, 813 (1986).

          1.    Necessarily raised

          A federal issue is "necessarily raised" by a claim if the court must address that issue in

order to resolve the claim. See Gunn, 568 U.S. at 259 (issue of patent law is "necessary" to case

if court would have to apply            it to resolve plaintiffs state law-based legal malpractice



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claim);   Grable, 545 U.S.       at 345 (federal issue necessarily raised where the United States

government's compliance with federal statute was "essential element" of plamtiff' s claim).

          Here, a federal issue sounding in patent law is necessarily raised only by Dell's breach-

of-contract     claim.'0   Dell alleges three ways in which TiVo breached the Licensing Agreement:

(1) by providing products that did not operate substantially in accordance with the written

specifications, as represented and warranted;        (2)   by providing Roxio Creator software that

infringed the intellectual property rights of a third party. Such infringement arose out of TiVo's

wrongful inclusion of a separate MP3 codec and failure to enable MP3 decoding capability by

using Microsoft preloaded MP3 codec; and (3) by failing to fully indemnity, defend and hold

harmless Dell for its losses, including the settlement with Audio MPEG and Sisvel and

predicates its breach of contract claim on attorneys' fees, costs, and expenses Dell incurred

defending itself in the suits brought by Audio MPEG and Sisvel and repayment of royalties

previously paid by Dell.

          Dell expressly places infringement at issue by alleging that TiVo breached the Licensing

Agreement "by providing Roxio Creator software that infringed the intellectual property rights of

a third party." In order to satisf' the "breach" element, Dell would have to prove that TiVo 's

product was infringing. No court has yet had the opportunity to pass on whether the Roxio

software was infringing or whether the patent was exhausted by a license to Microsoft, because

the previous infringement case settled before the court reached a ruling on the merits of the

infringement and exhaustion claims. Dell's breach of contract claim necessarily raises whether

the Roxio software was infringing and in breach of the Licensing Agreement. Cf           Gunn, 545


U.S. at   258-59.




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               TiVo does not contend that Dell's tort claims arise under patent law.

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       Dell argues that under Texas law, a settling indemnitee such as Dell is not required to

show that TiVo was actually liable for the patent infringement that resulted in its settlement with

Audio MPEG and the patent owners; Dell need only demonstrate a "potential liability and that

{its settlement was reasonable, prudent and in         good faith under the circumstances." Fireman 's

Fund Ins. Co.   v.   Commercial Standard Ins. Co., 490 S.W.2d 818, 824 (Tex. 1972), overruled on

other grounds by Ethyl Corp.    v.   Daniel Constr. Co., 725 S.W.2d 705 (Tex. 1987). This might be

true of whether TiVo breached the Licensing Agreement for failing to indemnify Dell, but Dell

claims that TiVo breached the Licensing Agreement in two other ways. This court does not read

Fireman 's Fund as persuasive or even relevant authority as to whether a court can hold TiVo

liable for breaching the Licensing Agreement because Roxio creator infringed on the Audio

MPEG patents. This court concludes that Dell's breach-of-contract claim necessarily raises a

federal issue of patent infringement.

       2. Actually disputed

       The issue of infringement is also "actually disputed."              Dell asserts that the Roxio

software infringed on the Audio MPEG patents; TiVo disputes that the Roxio software infringed

the Audio MPEG patents and also contends that the patents were exhausted by a license to

Microsoft. Cf Gunn, 545 U.S. at 259.

       3. Substantial

       In considering whether a disputed issue is a substantial federal issue, "it is not enough

that the federal issue be significant to the particular parties in the immediate suit; that

will always be true when the state claim 'necessarily raise[s]' a disputed federal issue,

as Grable requires." Gunn, 568 U.S. at 260 (emphasis and brackets in original). Rather, "[t]he

substantiality inquiry under Grable looks.     . .   to the importance of the issue to the federal system



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as a whole." Id. In Gunn, the court considered whether the case was "substantial" by analyzing

whether the case was "backward looking," "merely hypothetical," and not likely to "change the

real-world result of the prior federal patent litigation." Id. at 261. The Court in Gunn concluded

the state-law claims did not meet the substantiality requirement because the legal-malpractice

claim entailed a "merely hypothetical," backward-looking review of a lawyer's conduct related

to an invalid patent.      As the Federal Circuit recently observed, "the Court's decision

in Gunn could be read to imply that whether the patent question at issue is substantial depends on

whether the patent is 'live' such that the resolution of any question of patent law is not 'merely

hypothetical." Xitronix Corp.     v.   KLA-Tencor Corp., 757 F. App'x 1008, 1010 (Fed. Cir. 2019)

(citing Gunn, 568 U.S. at 261).

        Dell's state-court complaint asserts that TiVo's alleged infringement is central to the

dispute Dell seeks to resolve through state-law claims sounding in tort and contract. Dell was

sued for patent infringement in Virginia because TiVo's product allegedly infringed on third-

party   patentsin   breach of the Licensing Agreementand TiVo's products did not operate

according to the agreed upon functionalityalso in breach of the Licensing Agreement. Dell

also seeks reparations for the alleged misrepresentations made by TiVo before and during the

AudioMPEG suit. And the measure of damages sought by Dell would be related, in part, to the

settlement Dell paid in the AudioMPEG suit.

        Thus, if Dell continues to press its claims that TiVo 'S product infringed in breach of the

Licensing Agreement, some court will have to determine whether or not TiVo's product did in

fact infringe. In that sense, the federal patent   issueinfringementplays a more central role    in

the resolution of this case than did the state-law claim in Gunn and it is not a hypothetical

question. On the other hand, the facts of this case are unique: the prior patent case is finished;



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neither the patent owner nor an exclusive licensee is joined in this lawsuit; and the patents are

now fully licensed as to the products TiVo supplied to Dell. Perhaps of most importance, the

patents are now expired, which obviates the potential for a future infringement action against

TiVo. Even though the resolution of the infringement issue would no doubt affect the parties to

this suit, much like the facts of Gunn, an infringement determination is still "backward looking"

as it would not "change the real-world result     of the prior federal patent litigation." Gunn, 568

U.S. at 261.    Accordingly, under the reasoning of Gunn, Dell's state-law claims are not

"substantial" to the federal system as a whole.

       4. Federal-state balance

       Finally, when examining whether an issue is "apab1e of resolution in federal court

without disrupting the federal-state balance approved by Congress," Gunn, 568 U.S. at 258, a

court must consider whether an exercise    of jurisdiction would "materially affect, or threaten to

affect, the normal currents of litigation." Grable, 545 U.S. at 319.         In essence, this factor

requires courts to examine whether an exercise of jurisdiction would force categories of cases

traditionally brought in state court into the federal system. See Gunn, 568 U.S. at 264 (noting the

States have a "special responsibility for maintaining standards among members of the licensed

professions," and concluding "[w]e have no reason to suppose that        Congressin establishing
exclusive federal jurisdiction over patent    casesmeant      to bar from state courts state legal

malpractice claims simply because they require resolution of a hypothetical patent issue."

(internal citations and quotation marks omitted)); Grable, 545 U.s. at 319 (comparing the "rare"

type of case before the Court, which would not impact the ordinary division of responsibilities

between the state and federal judiciaries if federal subject-matter jurisdiction were found to exist,




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with the situation in Merrell Dow, 478 U.S. 804, which "would thus have heralded a potentially

enormous shift of traditionally state cases into federal courts.").

        Federal patent law is necessarily raised and disputed in this case, but under Gunn, it does

not outweigh the interest of the state in regulating agreements and misrepresentations covered by

state law. See Aronson     v.   Quick Point Pencil Co., 440 U.S. 257, 262 (1979) ("Commercial

agreements traditionally are the domain of state law.      .   .   .   [s]tate law is not displaced merely

because the contract relates to intellectual property which may or may not be patentable"). As

the Court reemphasized in Gunn, "[ulederal courts have exclusive jurisdiction of all cases arising

under the patent laws, but not of all questions in which a patent may be the subject-matter of the

controversy." 568 U.S. at 264 (quoting New Marshall Engine Co.               v.   Marshall Engine Co., 223

U.S. 473, 478 (1912)). As in Gunn, allowing this case to proceed forward in federal court would

disrupt federal-state balance, and diminish the role of the state of Texas in regulating commercial

agreements and misrepresentations.

        In sum, Dell's breach-of-contract claim necessarily raises a disputed question           of federal
law; however, it does not arise under patent law because it not substantial enough to the federal

system as a whole and does not outweigh the state's interest in enforcing commercial

agreements.

   V.      CONCLUSION

        TiVo 's counterclaims and Dell's state-law claims do not arise under federal law, and

TiVo failed to prove that Dell improperly joined Dell Technologies in order to defeat diversity.




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      IT IS THEREFORE ORDERED that Dell's Motion for Remand or, In the Alternative,

to Dismiss filed August 29, 2018 (Dkt. No. 22) is GRANTED to the extent that this case is

REMANDED to the 26th Judicial District Court of Williamson County, Texas.

       SIGNED this              day of June, 2019.

                                                                        /




                                          LEEE        L
                                                 ED STATES DISTRICT JUDGE




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